Case 3:06-cr-00285-L         Document 196        Filed 11/14/06       Page 1 of 2      PageID 467



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §    Criminal No. 3:06-CR-285-L
                                                 §
ALONZO EDWARDS (24)                              §
a.k.a. “Booker”                                  §

               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be

accepted. Based upon the Report of the Magistrate Judge the court finds that the defendant is fully

competent and capable of entering an informed plea, that the defendant is aware of the nature of the

charge and the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea,

supported by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Alonzo Edwards a.k.a.

“Booker” on October 31, 2006, and he is hereby adjudged guilty of the offense charged in Count

Twenty-One of the Indictment, which is a violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C),

namely, Distribution of a Schedule II Controlled Substance (Cocaine Base). Sentence will be

imposed in accordance with the court's scheduling order.
Case 3:06-cr-00285-L         Document 196     Filed 11/14/06   Page 2 of 2   PageID 468



       It is so ordered this 14th day of November, 2006.



                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




Order Accepting Report – Page 2
